Case 2:14-cv-09258-CAS-JPR Document 25 Filed 07/24/15 Page 1 of 3 Page ID #:100



1    Brent H. Blakely (SBN 157292)                                                 JS-6
     bblakely@blakelylawgroup.com
2    Cindy Chan (SBN 247495)
     cchan@blakelylawgroup.com
3    BLAKELY LAW GROUP
     1334 Parkview Avenue, Suite 280
4    Manhattan Beach, California 90266
     Telephone: (310) 546-7400
5    Facsimile: (310) 546-7401
6    Attorneys for Plaintiffs
     E-Hose Technologies LLC and
7    PhD Marketing, Inc.
8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
11   E-HOSE TECHNOLOGIES LLC, a                      ) CASE NO. 2:14-CV-09258-CAS-JPR
     California Limited Liability Company; and       )
12   PhD MARKETING, INC., a California               ) [PROPOSED] ORDER RE
     Corporation,                                    ) PERMANENT INJUNCTION AND
13                                                   ) VOLUNTARY DISMISSAL OF
                           Plaintiffs,               ) ACTION WITH PREJUDICE
14                                                   )
                  v.                                 )
15                                                   )
     HAYK’S SMOKE SHOP, INC., a                      )
16   California Corporation; LEVON                   )
     SAYADYAN, an individual; and DOES               )
17   1-10, inclusive,                                )
                                                     )
18                         Defendants.               )
19         WHEREAS, Plaintiffs E-Hose Technologies LLC and PhD Marketing, Inc.
20   (collectively “Plaintiffs”) having filed a Complaint in this action charging Defendants
21   Hayk’s Smoke Shop, Inc. and Levon Sayadyan (“Defendants”) with Trademark
22   Infringement, False Designations of Origin, and Unfair Competition under federal,
23   state, and common law arising from Defendants’ manufacture, production, distribution,
24   promotion, advertisement, offering for sale, and/or sale of products bearing counterfeit
25   reproductions of Plaintiff’s federally registered trademarks; and
26         WHEREAS, Plaintiffs own of the following trademarks shown below
27   (collectively “E-Hose Marks”)
28

                                                 1
                                         [PROPOSED] ORDER
Case 2:14-cv-09258-CAS-JPR Document 25 Filed 07/24/15 Page 2 of 3 Page ID #:101



1               Trademark        U.S. Reg./Serial Class(es)/Goods
                                 No.
2                E-HOSE          4,463,945        Chemical flavorings in liquid
3                                                 form contained within a
                                                  cartridge used to refill
4                                                 electronic cigarettes
5                E-HOSE          4,456,664        Cigarette tubes; Electric
                                                  cigarettes; Electronic cigarette
6                                                 refill cartridges sold empty;
7                                                 Electronic cigars; Electronic
                                                  hookahs; Hookah parts,
8                                                 namely, tube and hose; Hookah
9                                                 tobacco; Hookahs; Smokeless
                                                  cigarette vaporizer pipe;
10                                                Smoker's articles, namely,
11                                                hookah charcoal.
                                 4, 005,820       Electric cigarettes ; Electric
12                                                cigars ; Electric smoking pipes.
13
14                               85/831231           Electric cigarettes; Electronic
                                                     cigarettes; Electronic cigars;
15
                                                     Electronic hookahs
16
17
18
19
20         WHEREAS, the parties herein having simultaneously entered into a Settlement
21   Agreement and Mutual Release; and
22         WHEREAS, the parties hereto desiring to fully settle all of the claims in this
23   action among the parties to this Final Judgment; and
24         WHEREAS, Defendants have agreed to consent to the below terms of a
25   permanent injunction, IT IS HEREBY ORDERED that:
26       1.      Defendants and their agents, servants, employees and all persons in active
27   concert and participation with them who receive actual notice of this Consent
28   Judgment are hereby permanently restrained and enjoined from:

                                                2
                                        [PROPOSED] ORDER
Case 2:14-cv-09258-CAS-JPR Document 25 Filed 07/24/15 Page 3 of 3 Page ID #:102



1                  (a)   Manufacturing, purchasing, producing, distributing, circulating,
2    selling, offering for sale, importing, exporting, advertising, promoting, displaying,
3    shipping, marketing and/or incorporating in advertising or marketing products bearing
4    the E-Hose Marks and/or marks identical and/or confusingly similar thereto;
5                  (b)   Knowingly assisting, aiding or attempting to assist or aid any other
6    person or entity in performing any of the prohibited activities referred to in Paragraph
7    2(a) above.
8          WHEREAS, Plaintiffs and Defendants have further agreed as follows, IT IS
9    FURTHER ORDERED that:
10       2.        This Court has jurisdiction over the parties to this Final Consent Judgment
11   and has jurisdiction over the subject matter hereof pursuant to 15 U.S.C. § 1121.
12       3.        Plaintiffs and Defendants shall bear their own costs and attorneys’ fees
13   associated with this action.
14       4.        Plaintiffs hereby dismiss with prejudice their claims against Defendants in
15   this action, however, such dismissal shall not have preclusive effect on those who are
16   not a party to this Stipulation or who are not specifically released in the parties’ written
17   settlement agreement, all claims against whom Plaintiffs expressly reserve.
18       5.        The execution of this Consent Judgment shall serve to bind and obligate
19   the parties hereto and all dates are hereby vacated.
20       6.        The jurisdiction of this Court is retained for the purpose of making any
21   further orders necessary or proper for the construction or modification of this Consent
22   Judgment, the enforcement thereof and the punishment of any violations thereof.
23   Except as otherwise provided herein, this action is fully resolved with prejudice.
24
25   DATED:        July 24, 2015                      ____________________________
                                                       Honorable Christina A. Snyder
26                                                    United States District Judge
27
28

                                                  3
                                          [PROPOSED] ORDER
